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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          :
                                                          :
    In re                                                 : Chapter 11
                                                          :
    FTX TRADING LTD., et al., 1                           : Case No. 22-11068 (JTD)
                                                          : (Jointly Administered)
            Debtors.                                      :
                                                          :
                                                          :
                                                          :
                                                          :
                                                          :

                       NOTICE OF FOURTH MONTHLY FEE STATEMENT

             PLEASE TAKE NOTICE that on September 30, 2024, Patterson Belknap Webb &

Tyler LLP (Patterson Belknap”) filed the Fourth Monthly Fee Statement of Patterson Belknap

Webb & Tyler LLP as Counsel to the Examiner for Compensation for Professional Services

Rendered and Reimbursement of Expenses Incurred During the Period from August 1, 2024

Through and Including August 31, 2024 (the “Monthly Fee Statement”) with the United States

Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

             PLEASE TAKE FURTHER NOTICE that any objections to the Monthly Fee

Statement must be made in accordance with the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals, ECF No. 435 (the “Interim

Compensation Order”). Objections must be served upon the following parties so as to be

received on or before October 21, 2024, at 4:00 p.m. (prevailing Eastern Time):


1
          The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit
3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


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       (i) counsel to the Debtors, (a) Sullivan & Cromwell LLP, 125 Broad Street, New York,
       New York 10004, Attn: Alexa J. Kranzley (kranzleya@sullcrom.com) and (b) Landis
       Rath & Cobb LLP, 919 Market Street, Suite 1800, Wilmington, DE 19801, Attn: Adam
       G. Landis (landis@lrclaw.com) and Kimberly A. Brown (brown@lrclaw.com); (ii)
       counsel to the Committee, (a) Paul Hastings LLP, 200 Park Avenue, New York, New
       York 10166, Attn: Kris Hansen (krishansen@paulhastings.com), Erez Gilad
       (erezgilad@paulhastings.com) and Gabriel Sasson (gabesasson@paulhastings.com) and
       (b) Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street,
       Wilmington, Delaware 19801, Attn: Matthew B. Lunn (mlunn@ycst.com) and Robert F.
       Poppiti, Jr. (rpoppiti@ycst.com); (iii) the U.S. Trustee, 844 King Street, Suite 2207,
       Wilmington, Delaware 19801, Attn: Linda Richenderfer (linda.richenderfer@usdoj.gov);
       (iv) the Fee Examiner and her counsel, Godfrey & Kahn, S.C., One East Main Street,
       Suite 500, Madison, Wisconsin 53701, Attn: Katherine Stadler and Mark Hancock
       (FTXFeeExaminer@gklaw.com), and (v) the Examiner and his counsel, (a) Patterson
       Belknap Webb & Tyler LLP, 1133 Avenue of the Americas, New York, NY 10036, Attn:
       Robert J. Cleary (rcleary@pbwt.com), Daniel A. Lowenthal (dalowenthal@pbwt.com)
       and Kimberly A. Black (kblack@pbwt.com) and (b) Ashby & Geddes, P.A. 500
       Delaware Avenue, 8th Floor Wilmington, DE 19801, Attn: Michael DeBaecke
       (mdebaecke@ashbygeddes.com).

       PLEASE TAKE FURTHER NOTICE THAT IN ACCORDANCE WITH THE

INTERIM COMPENSATION ORDER, IF NO OBJECTIONS ARE SERVED IN

ACCORDANCE WITH THE INTERIM COMPENSATION ORDER, THE DEBTORS WILL

BE AUTHORIZED TO PAY PATTERSON BELKNAP AN AMOUNT EQUAL TO 80% OF

THE FEES AND 100% OF THE EXPENSES REQUESTED IN THE MONTHLY FEE

STATEMENT THAT ARE UNOPPOSED WITHOUT FURTHER COURT ORDER.

       PLEASE TAKE FURTHER NOTICE that if an Objection to the Monthly Fee

Statement is served by the Objection Deadline, the parties shall follow the procedures set forth in

the Interim Compensation Order.




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Dated: September 30, 2024                Respectfully submitted,

                                         ASHBY & GEDDES, P.A.

                                         By: /s/ Michael D. DeBaecke

                                         Michael D. DeBaecke (Bar No. 3186)
                                         500 Delaware Avenue, 8th Floor
                                         Wilmington, DE 19801
                                         Tel: (302) 654-1888
                                         Email: mdebaecke@ashbygeddes.com

                                         -and-

                                         PATTERSON BELKNAP WEBB &
                                         TYLER LLP

                                         Daniel A. Lowenthal (admitted pro hac vice)
                                         Kimberly A. Black (admitted pro hac vice)
                                         1133 Avenue of the Americas
                                         New York, NY 10036-6710
                                         Telephone: (212) 336-2000
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                                         Email: kblack@pbwt.com


                                         Counsel to Robert J. Cleary in his capacity
                                         as Examiner appointed in the Chapter 11
                                         Cases




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